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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )         4:07CR3064-2
                                                )
                     Plaintiff,                 )
                                                )
       vs.                                      )
                                                )         ORDER
PRECIOUS JEWELS MILLER,                         )
                                                )
                     Defendant.                 )

       IT IS ORDERED that:

       (1)    The government’s request for hearing (filing 63) is granted.

      (2)     A hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filing 58) has been set before the undersigned United States district judge on
Thursday, May 27, 2010, at 11:30 a.m., in Courtroom No. 1, United States Courthouse and
Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.

       (3)   The United States Marshal is directed to return the defendant to the district for
the hearing.

       Dated May 19, 2010.

                                             BY THE COURT:

                                             Richard G. Kopf
                                             United States District Judge
